        1         James L. Day, WSBA #20474                  HONORABLE FREDERICK P. CORBIT
                  BUSH KORNFELD LLP
        2         601 UNION STREET, SUITE 5000               HEARING DATE: March 25, 2025
                  SEATTLE, WA 98101                          HEARING TIME: 1:30 p.m. Pacific
        3
                  Tel: (206) 292-2110                        LOCATION:     Via Zoomgov.com
        4         Emails: jday@bskd.com

        5

        6
                                       UNITED STATES BANKRUPTCY COURT
        7                              EASTERN DISTRICT OF WASHINGTON
        8                                                          Chapter 11
                  In re
        9         1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
                  LLC; and TWELFTH FLOOR, LLC,                     (Jointly Administered)
       10
                                                                   AP DEFENDANTS’
                                           Debtors.                MOTION TO DISMISS THE
       11
                                                                   COMPLAINT AND NOTICE
       12                                                          THEREOF

       13         TO:         MATTHEW J. LIVINGSTON, of REID & WISE LLC, counsel for
                              Plaintiffs
       14         AND TO:     JEREMY E. ROLLER, of ARETE LAW GROUP PLLC, counsel for
                              Plaintiffs
       15         AND TO:     CLERK OF THE COURT
                  AND TO:     U.S. TRUSTEE’S OFFICE
       16         AND TO:     PARTIES IN INTEREST
                  AND TO:     ALL PARTIES REQUESTING SPECIAL NOTICE
       17
                         PLEASE TAKE NOTICE that, upon the Memorandum of Law in Support of
       18
                  AP Defendants’ Motion to Dismiss the Complaint (the “Motion”), the accompanying
       19         Declaration of Jason I. Kirschner and exhibits attached thereto, and all prior pleadings
                  and proceedings herein, Defendants 1 Min, LLC, Hotel at Southport, LLC, Twelfth
       20         Floor, LLC and WF CREL 2020 Grantor Trust (collectively the “AP Defendants”),
                  respectfully move this Court for an order dismissing the Complaint [Docket Entry
       21
                  No. 1] with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(6),
       22         incorporated herein by Federal Rule of Bankruptcy Procedure 7012.

       23

                                                                                  B USH K ORNFELD L LP
                  AP DEFENDANTS’ MOTION TO DISMISS THE                                    LAW OFFICES
                  COMPLAINT AND NOTICE THEREOF – Page 1                              601 Union St., Suite 5000
                                                                                  Seattle, Washington 98101-2373
                                                                                     Telephone (206) 292-2110
                                                                                     Facsimile (206) 292-2104
2836 ib18nq01gy
                  25-80007-FPC   Doc 12   Filed 02/19/25   Entered 02/19/25 14:56:40     Pg 1 of 3
        1                PLEASE FURTHER TAKE NOTICE that an in-person hearing on the Motion
                  is scheduled to be held on Tuesday, March 25, 2025, commencing at 1:30 p.m.
        2
                  prevailing Pacific Time. Any party that wishes to appear at or attend the hearing
        3         remotely may participate via video conference by following the link below:

        4               Via ZoomGov at:
                        https://www.zoomgov.com/j/1606922376
        5               (Telephone: (669) 254-5252)
                        Meeting ID: 1606922376
        6
                        See also: https://www.waeb.uscourts.gov/judge/judge-frederick-p-corbit
        7

        8               The date, time and place of this hearing is subject to change, and notice of any
                  change shall be given only to parties who have filed objections to the Motion or who
        9         have specifically requested just notice in writing.
       10                PLEASE TAKE FURTHER NOTICE that IF YOU OPPOSE entry of the
                  Motion to Dismiss, you must file your written response or objection with the Court
       11         Clerk and deliver copies to the undersigned counsel NO LATER THAN Tuesday,
                  March 18, 2025. If you do not timely file a response or objection, the Court may enter
       12         a final order approving the Motion without further notice to you.
       13
                        PLEASE TAKE FURTHER NOTICE that, under Rule 7012(b) of the Federal
       14         Rules of Bankruptcy Procedure, the AP Defendants consent to the entry of final orders
                  or judgment by this Court.
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                                                    [Signatures next page]
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                                                                                   B USH K ORNFELD L LP
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                  25-80007-FPC    Doc 12   Filed 02/19/25   Entered 02/19/25 14:56:40     Pg 2 of 3
                     Dated:   February 18, 2025               BUSH KORNFELD LLP
        1                                                         /s/ James L. Day
                                                              James L. Day, WSBA #20474
        2                                                     Christine M. Tobin-Presser #27628
        3
                                                              Jason Wax, WSBA #41944
                                                              Attorneys for the Debtors
        4
                                                              EISENHOWER CARLSON PLLC
        5
                                                                  /s/ Darren R. Krattli
        6                                                     Darren R. Krattli, WSBA No. 39128
                                                              909 A Street, Suite 600
        7                                                     Tacoma, Washington 98402
        8
                                                              Telephone: (253) 572-4500
                                                              Facsimile: (253) 272-5732
        9                                                     Email: DKrattli@Eisenhowerlaw.com

       10
                                                              -and-

       11
                                                              MAYER BROWN LLP
                                                              Thomas S. Kiriakos
       12                                                     Craig E. Reimer
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                                                              71 S. Wacker Dr.
                                                              Chicago, Illinois 60606
       14                                                     Telephone: (312) 782-0600
                                                              Facsimile: (312) 701-7711
       15                                                     Email: TKiriakos@mayerbrown.com
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       16
                                                              -and-
       17
                                                              Jason I. Kirschner
       18                                                     Danielle A. Sigal
                                                              1221 Avenue of the Americas
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       20
                                                              Email: jkirschner@mayerbrown.com
       21                                                     DSigal@mayerbrown.com
                                                              Counsel to WF CREL 2020 GRANTOR
       22                                                     TRUST
       23

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